          Exhibit 72




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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
         CIVIL ACTION NO. 1:14-CV-00954-LCB-JLW

STUDENTS FOR FAIR
ADMISSIONS, INC.,
                           Plaintiffs,
     vs.
UNIVERSITY OF NORTH
CAROLINA, et al.,
                           Defendants.




                 _______________________________
                           DEPOSITION
                               OF
                       JENNIFER KRETCHMAR
                 _______________________________



TAKEN AT THE OFFICES OF:
UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL
222 East Cameron Avenue
110 Bynum Hall
Chapel Hill, NC 27514


                               03-07-17
                               8:51 A.M.
                    __________________________
                         Michael B. Lawrence
                           Court Reporter

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   1          increasing volume in applications, we made a
   2          decision at that time not to review every single
   3          one twice.
   4                    Q.         And you said you're -- did you also say
   5          you're involved in school group review?
   6                    A.         I have been. Uh-huh (yes).
   7                    Q.         Are you right now or ---
   8                    A.         I am.
   9                    Q.         Okay.   So can you just describe the
 10           school group review process?
 11                     A.         Sure.   So essentially you're either
 12           assigned to in-state or out-of-state school group.
 13           The first deadline, I was in-state school group
 14           review.          This deadline, I'm out-of-state school
 15           group review.             I'm assigned certain states.          I'm
 16           going to get a list of all decisions by school for
 17           those states.             They're typically ranked by either
 18           GPA or rank.
 19                                I use a physical printout of those
 20           sheets -- most people in the office do.                 We're
 21           essentially doing two things.             At the point that
 22           we do school group review, we know whether we have
 23           to pull down or pull back in order to meet our
 24           enrollment goals.             We have a -- an instruction to,
 25           you know, look for certain decisions to change.

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   1          And it's also a quality check, so we're looking
   2          for fairness of decisions within the school.
   3                               So essentially you go through each
   4          school.          You look at applications that you might
   5          want to go into and do another full read and --
   6          it's essentially the holistic review all over
   7          again.         You may change a decision, you may not.
   8                    Q.         When you say it's the holistic review
   9          all over again, does that mean that during school
 10           group review the reviewer typically reviews the
 11           entire application file?
 12                                       MR. SCUDDER:   Objection.
 13                     A.         They -- they can, yeah.     So for ones
 14           that you're going into, they're going to open up,
 15           they're going to see the evaluation page.                    They
 16           might go through every document in the
 17           application.             Yes.
 18                                They also have the information that's on
 19           the evaluation page, which is a summary of the
 20           holistic review.              So...
 21                     Q.         (Mr. Strawbridge)     Is the school group
 22           review conducted by the more senior officers in
 23           the Admissions Office?
 24                     A.         Yes.
 25                     Q.         Okay.   And who are they this year, for

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   1          candidate.             We've decided not to admit them.           If
   2          we have space available, they're someone we'll re-
   3          review and consider for admission.
   4                    Q.         Do you know what I mean when I refer to
   5          yield?
   6                    A.         Yes.
   7                    Q.         And what is yield?
   8                    A.         Yield is the percent of students who are
   9          admitted who end up enrolling.
 10                     Q.         Are students on the wait list
 11           essentially, you know, waiting to see how the
 12           yield of the admitted students works out?
 13                     A.         Yeah.   I mean, that's standard practice
 14           in admissions.               Schools typically have a wait list
 15           because this is an art in science and in case we
 16           don't come in right at our number -- we come in
 17           under, then you can admit from the wait list.
 18                     Q.         You're responsible for building the
 19           yield model for the University?
 20                     A.         Yes.
 21                     Q.         And have you maintained a yield model
 22           for the entirety of your time at UNC?
 23                     A.         Not the entirety of my time.     It's
 24           probably been the last eight or so years.
 25                     Q.         And what information do you use to model

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   1          yield?
   2                    A.         Deadline, residency, underrepresented
   3          minority status, and test score bands.
   4                    Q.         And let's start with residency.
   5                    A.         Uh-huh (yes).
   6                    Q.         You use different yield models for in-
   7          state versus out-of-state residents?
   8                    A.         I wouldn't say it's a different yield
   9          model.         Those four variables comprise 40 different
 10           cells that each student might fall into and
 11           there's a yield for that cell, if that makes
 12           sense.         So...
 13                     Q.         I guess my question, and I apologize for
 14           not being clear, when you say residency, is it
 15           anything beyond just in-state or out-of-state?                      Do
 16           you model yield based on counties in North
 17           Carolina, for example?
 18                     A.         No, we do not.
 19                     Q.         With respect to underrepresented
 20           minority status, what do you mean when you say
 21           underrepresented minority?
 22                     A.         Specifically, with reference to the
 23           yield model, it's African-American, American
 24           Indian or Hispanic.
 25                     Q.         And outside the yield model, is that --

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   1          the data base?
   2                    A.         Yes.
   3                    Q.         Would it be a new field or would an
   4          entry be changed?              In other words, at the end of a
   5          given year, could you identify the people who are
   6          both deferred and then wait listed?
   7                                      MR. SCUDDER:   Objection.
   8                    A.         You can identify the people who are both
   9          wait listed and deferred.
 10                     Q.         (Mr. Strawbridge)     I supposed if they're
 11           classified as D-1 and then they're on the wait
 12           list, that's going to be that population?
 13                     A.         Right.
 14                     Q.         You mentioned the ratings that are given
 15           to applicants ---
 16                     A.         Uh-huh (yes).
 17                     Q.         --- by the readers.     What -- which
 18           categories are rated?
 19                     A.         The first one is called program.          It's
 20           the strength of the curriculum.                The second one is
 21           performance.             We rate their -- their grades,
 22           essentially.             We rate their extracurricular
 23           activities, we rate their essay, and then we have
 24           a final category called personal qualities that we
 25           rate.

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   1                    Q.         Let's start with program.     What is the
   2          rating scale for program?
   3                    A.         It's one to ten.
   4                    Q.         And it's -- it's ten increments?
   5                    A.         Right.
   6                    Q.         And ten being the highest?
   7                    A.         Correct.
   8                    Q.         And is there a guide as to how you
   9          should rate a program on that scale?
 10                                       MR. SCUDDER:   Objection.
 11                     A.         We do have a definition of the program
 12           rating.          It's a count of the number of college
 13           level courses.
 14                     Q.         (Mr. Strawbridge)     When you say it's a
 15           count of college level courses, is that a count
 16           that is offered at the school or that the
 17           applicant took?
 18                     A.         That the applicant took.
 19                     Q.         Okay.    So if they took five college
 20           level courses, what would their rating be?
 21                     A.         Five.
 22                     Q.         If they took ten?
 23                     A.         Ten.
 24                     Q.         And has that scale been the same during
 25           your time at UNC?

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   1                    A.         It's changed over -- I mean, I've been
   2          here 15 years, so it's changed slightly.                  In the
   3          beginning we didn't count.               I can't tell you when
   4          it shifted to a count.
   5                    Q.         During your time at UNC, has there --
   6          has there been a decision made to put less
   7          emphasis on the program rating in the admissions
   8          process?
   9                                    MR. SCUDDER:    Objection.
 10                     A.         I would say different emphasis.
 11                     Q.         (Mr. Strawbridge)    How would you
 12           describe the change to a different emphasis?
 13                     A.         We did our own research looking at the
 14           relationship between the number of college level
 15           courses a student takes and their performance
 16           here, and we found a sort of leveling off after
 17           the five or six point, all other things being
 18           equal.         We used to assume that the more courses
 19           someone took, the better prepared they were, you
 20           know.          Twenty is better than 15, 25 is better than
 21           20.       And so this has -- we've shifted our
 22           evaluation according to the results of these
 23           studies, so...
 24                                Q.   So has it led to a change in the
 25           scoring system?

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   1                    A.         No.
   2                    Q.         But it's -- the instruction is to give
   3          less emphasis to the program rating at a certain
   4          point?
   5                    A.         The instruction is to recognize that
   6          someone who has taken 15 isn't necessarily better
   7          prepared than someone who has taken eight, for
   8          example.             The results also showed that somebody
   9          who takes five or six is going to perform better
 10           than someone who doesn't take any.                So it's a more
 11           nuanced understanding of program.
 12                     Q.         Is that all that goes into program is
 13           college level courses?
 14                     A.         Yes.
 15                     Q.         And so students who are at schools that
 16           don't provide as many college level course
 17           options, do they have less opportunity to earn a
 18           higher program score ---
 19                     A.         Uh-huh (yes).
 20                     Q.         --- through no fault of their own,
 21           correct?
 22                                       MR. SCUDDER:   Objection.
 23                     A.         Some students might have less
 24           opportunity to earn a higher score based on what
 25           their school offers.              Is that the question?

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   1                    Q.         (Mr. Strawbridge)   Correct.
   2                    A.         Essentially, yes.   There are ways to go
   3          beyond the school curriculum, but...
   4                    Q.         Is the number of courses made available
   5          to a particular student taken into account in the
   6          admissions process?
   7                    A.         Yes.
   8                    Q.         How?
   9                    A.         A school profile is available -- is
 10           provided by the counselor, so it's part of the
 11           application that we review as we're reviewing the
 12           applicant.
 13                     Q.         And so it's up to the individual reader
 14           to sort of note that this applicant may have only
 15           taken four courses, but their school only offers
 16           six, for example?
 17                     A.         Right.
 18                     Q.         And that would show up in the reader
 19           comments?
 20                     A.         It could.
 21                     Q.         Is there anywhere else it would be
 22           accounted for in the applicant data?
 23                     A.         Other than the school profile, which is
 24           attached to the application, no.
 25                     Q.         What is the rating scale for

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   1          performance?
   2                    A.         It's also one to ten.
   3                    Q.         Ten being highest?
   4                    A.         Yes.
   5                    Q.         Is that true for all the scores?         It's
   6          the higher ---
   7                    A.         Yes.   Uh-huh (yes).
   8                    Q.         And what dictates what -- what earns a
   9          ten, for example?
 10                     A.         So, a ten is straight A's.   We have a
 11           guide, so a nine would be one to two B'S and so
 12           on, so forth.               So it's -- it's a little more
 13           subjective.             It's not -- it gets messier the
 14           further down you go.              Ir takes into account grade
 15           trend.
 16                     Q.         You said he takes into account grade
 17           trend.         What does that mean?
 18                     A.         If poorer grades are showing up later,
 19           the rating might reflect that as opposed to a few
 20           B's in ninth grade, for example.
 21                     Q.         And it's just the reader's -- the reader
 22           is instructed to make an adjustment for -- for
 23           grade trend?
 24                     A.         Uh-huh (yes).   It's -- it's part of the
 25           guide.         I mean again, there's -- it can't be

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   1          entirely prescriptive, but we train on this
   2          and ---
   3                    Q.         And besides earned grades, does anything
   4          else go into the performance grade?
   5                    A.         The trends, like I said.   So the grades
   6          themselves and the trends are the two primary --
   7          the two things.
   8                    Q.         But, for example, standardized test
   9          scores are not part of the performance ---
 10                     A.         No.
 11                     Q.         --- analysis?   Extracurriculars?
 12                     A.         Uh-huh (yes).
 13                     Q.         Is it the same grading scale?
 14                     A.         I think that this one's one, three,
 15           five, seven, ten, I think.              I -- we've gone --
 16           we've gone back and forth over the years.                  I think
 17           it's one, three -- we've gone back and forth to
 18           the full scale for extracurriculars versus a
 19           compressed fewer items on the scale.
 20                     Q.         And why is that?
 21                     A.         I don't know.   I mean, I think you'd
 22           have to ask people in charge of the reading
 23           process.
 24                     Q.         And who would that be?
 25                     A.         Jared, Barbara.

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   1                    Q.         And are there guidelines as to what
   2          earns a one, three, five, seven or ten?
   3                    A.         Yeah.   I mean, we look -- so, we look
   4          for things like leadership in extracurricular
   5          activities.             We look for continuity across years,
   6          amount of commitment in terms of hours, we look
   7          for achievement at different levels, achievement
   8          within the context of the school, and, you know,
   9          state level achievement, national achievement.                       So
 10           those are the -- sort of the anchors for that.
 11                     Q.         Would you agree that because of the
 12           variety of extracurricular activities it's a bit
 13           more subjective than the prior two scores?
 14                     A.         I would agree.
 15                     Q.         What's the essay grading scale?
 16                     A.         One, three, five, seven, ten.
 17                     Q.         And again, do you know why there's only
 18           five increments on that scale?
 19                     A.         No.
 20                     Q.         And there's a rubric or a guide to -- on
 21           how to grade essays?
 22                     A.         There is.
 23                     Q.         And what is the basic guidance that's
 24           given as to what to look for in the essays?
 25                     A.         So we -- the rubric is -- is based on

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   1          six things that we've essentially compressed to
   2          three, so the idea, the originality,
   3          sophistication of the idea, student voice in the
   4          writing and grammar syntax, et cetera.
   5                    Q.         How many essays does each applicant
   6          submit?
   7                    A.         This most recent year, they submit the
   8          one for the common app that all common app
   9          students submit and then we had a supplement that
 10           had two shorter essays.
 11                     Q.         And they -- they are to do both of
 12           those?
 13                     A.         Yes.
 14                     Q.         Okay.   And what were the topics of the
 15           essays?
 16                     A.         Oh, my gosh.
 17                     Q.         If you don't know, that's fine.
 18                     A.         There were -- I mean, there are choices.
 19           Oh, my God.
 20                     Q.         So it wasn't two specific topics?           It
 21           was write two of the following choices?
 22                     A.         So again this is something that's
 23           changed every year.
 24                                       MR. SCUDDER:   He's just asking if
 25           you know it.

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   1                    A.         I don't know.
   2                                    MR. SCUDDER:   He can -- we can look
   3          it up.
   4                                    THE WITNESS:   I don't know for
   5          sure.          I don't know.
   6                                    MR. SCUDDER:   Okay.
   7                                    THE WITNESS:   Yeah.
   8                    Q.         (Mr. Strawbridge)   That's fine.
   9                    A.         Okay.
 10                     Q.         And how is personal quality scaled?
 11                     A.         One, three, five, seven, and ten.
 12                     Q.         And what are the guidelines for personal
 13           quality?
 14                     A.         So there's six or seven things.       I'm not
 15           sure I could list all of them right now.
 16           Exceptional achievement, overcoming adversity,
 17           contribution to diversity, diversity broadly
 18           defined.
 19                     Q.         When you say "diversity broadly
 20           defined," what do you mean?
 21                     A.         In all the ways that diversity could be
 22           defined so the student is bringing something
 23           unique, whether it's an international background,
 24           having lived abroad, being multilingual, having
 25           grown up in extreme poverty, a unique talent.

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   1                    Q.         Would that definition include URM
   2          status?
   3                    A.         It could.
   4                    Q.         In addition to the categories we've just
   5          discussed, there's also -- you said that the --
   6          the reviewers also enter GPA?
   7                    A.         Correct.
   8                    Q.         And is there a standard method for
   9          calculating GPA?
 10                     A.         This has also changed just this year.
 11           So, let me just tell you what we did last year.
 12           It was either an official 4.0 weighted scale.                       We
 13           didn't do any calculation.              We just lifted from
 14           the transcript.             If the GPA was reported on a 4.0
 15           official scale, we entered it and then -- so
 16           there's a GPA field then a GPA type.               GPA type
 17           would be 4-point.               Anything on not on a 4.0
 18           weighted scale would be other.               And I don't think
 19           we required -- since we weren't reporting those,
 20           it didn't necessarily have to entered.
 21                                This year because of changes in
 22           reporting from the general administration, what we
 23           have to report to the GA, there are multiple GPA
 24           types.         So 8-point scale, 12-point scale, 100-
 25           point scale, we're recording all of those now.

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   1                    Q.         But whenever you ran a particular
   2          report, there would be a script run to do that
   3          basically?
   4                    A.         I would concord them and compare them
   5          for my purposes.              Now the flat file contains that
   6          highest concorded score.
   7                    Q.         Besides any comments or notes, does the
   8          summary evaluation -- whether information is
   9          included on the summary evaluation sheet,
 10           performance, gradings, the SAT and the GPA,
 11           obviously the reader notes are recorded
 12           somewhere.
 13                     A.         Uh-huh (yes).
 14                     Q.         Is there anything else that goes into
 15           the summary evaluation?
 16                     A.         The decisions.
 17                     Q.         Admit, defer, wait list, denied?
 18                     A.         Right.
 19                     Q.         Anything else?
 20                     A.         Not that I can think of.
 21                     Q.         We touched on this earlier, but I just
 22           want to make sure I understand.             How are special
 23           talent admission cases handled with respect to the
 24           reading process?
 25                     A.         All candidates go through, all athletes,

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   1                    A.         Yes.
   2                    Q.         So when you read a file, how does race
   3          affect your grading of an applicant for admission?
   4                    A.         My rating?
   5                    Q.         Your recommendation as to whether an
   6          applicant should be admitted?
   7                    A.         I mean, I read each applicant as an
   8          individual.             I'm looking through all of the pieces
   9          of information in the file, which, who knows how
 10           many that adds up.             I mean, all the information
 11           from the letter of rec to their extracurriculars,
 12           to their essays, to their parent education
 13           background and occupation, to how many languages
 14           they speak.             The race and ethnicity is visible on
 15           the app evaluation summary sheet.             I see it.          It's
 16           one factor that I take into account in getting to
 17           know that person as an individual.
 18                     Q.         If a student is URM, is that fact likely
 19           to be noted in comments that you make on a
 20           particular file?
 21                     A.         No.
 22                     Q.         In your experience, do first readers
 23           tend to notify -- tend to note URM status in their
 24           comments in a particular file?
 25                     A.         Yeah.   I don't know that I have the

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   1          perspective on all first readers.               I would say no.
   2          My -- my understanding would be no.
   3                    Q.         So you don't think that URM is typically
   4          noted on the comments on the file of URM students?
   5                    A.         I don't think so.
   6                    Q.         Is race used to determine the overall
   7          shape of the class apart from the individual
   8          rating of an applicant?
   9                                     MR. SCUDDER:   Objection.
 10                     A.         Again, I'm not sure I know what you mean
 11           by that question.
 12                     Q.         (Mr. Strawbridge)    Does the University
 13           track the racial makeup of the incoming class as
 14           the process moves along?
 15                     A.         We do not.
 16                     Q.         You do not?
 17                     A.         No.
 18                                (EXHIBIT NUMBER 5 WAS MARKED)
 19                     Q.         (Mr. Strawbridge)    I'm handing you what
 20           the reporter has marked as Exhibit 5.               Just take a
 21           second to familiarize yourself with this document.
 22                     A.         Uh-huh (yes).
 23           (Witness reviewed document)
 24                     Q.         (Mr. Strawbridge)    Do you recognize this
 25           document?

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   1                    A.         I do.
   2                    Q.         What is this?
   3                    A.         We refer to it as a core report.
   4                    Q.         And what is the core report?
   5                    A.         So, this is a core report from 2013.                I
   6          just want to note that.              This isn't how our
   7          reports look today.
   8                    Q.         Okay.   We'll talk a little bit about the
   9          differences in a minute.              But what -- this is
 10           actually titled -- the subject is "Core Report
 11           Comparison."
 12                     A.         Uh-huh (yes).
 13                     Q.         Is there a difference between a core
 14           report and core report comparison?
 15                     A.         We've used a lot of different
 16           nomenclature.             I can't remember.    I think even the
 17           core report had a comparison component.                    I can't
 18           be sure without going back and looking.
 19                     Q.         And what are -- what is the purpose of
 20           the core report generally?
 21                                     MR. SCUDDER:   Objection.        At this
 22           point in time, Patrick?
 23                                     MR. STRAWBRIDGE:    Yes.
 24                     A.         I mean, essentially it's to track
 25           progress relative to the same date and time

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   1          previous years.
   2                    Q.         (Mr. Strawbridge)   And when you say
   3          progress, what do you mean?
   4                    A.         Number of applications received, for
   5          example, how far along we are in the reading
   6          process.
   7                    Q.         Including admission decisions made?
   8                    A.         Right.
   9                    Q.         Do you know how -- was there a point in
 10           time when a core rep -- the core report comparison
 11           was created as a new report above and beyond the
 12           ordinary core report?
 13                     A.         So you're referring to this as a core
 14           report comparison.            That doesn't mean that --
 15           that's not any -- I've never used that
 16           terminology, so I'm not sure I can answer that
 17           question.
 18                     Q.         I mean, just so we're clear.    It's the
 19           subject line of this email.
 20                     A.         No, I see that, but that doesn't mean
 21           that's how we specifically referred to this report
 22           consistently.
 23                     Q.         Do you refer to this report as a core
 24           report?
 25                     A.         Yeah.

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   1          definition of critical mass that informs the
   2          admissions office is used for race in the
   3          admissions process?
   4                    A.         I couldn't --
   5                                     MR. SCUDDER:   Objection.
   6                    A.         I couldn't say.
   7                    Q.         (Mr. Strawbridge)    You couldn't say?
   8                    A.         No.
   9                    Q.         What are people in the Admissions Office
 10           told about using race to achieve critical mass?
 11                                      MR. SCUDDER:   Objection.
 12                     A.         What is your question?
 13                     Q.         (Mr. Strawbridge)    What are people in
 14           the Admissions Office told about using race to
 15           achieve critical mass?
 16                                      MR. SCUDDER:   Objection.
 17                     A.         We haven't had that discussion.
 18                     Q.         (Mr. Strawbridge)    You've never
 19           discussed what critical mass would be in the
 20           Admissions Office?
 21                     A.         I have not been a part of that
 22           discussion.             I -- I know critical mass is
 23           referenced in the reading document.               I don't write
 24           the reading document.             I haven't been part of
 25           those conversations.

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   1                    Q.         In 12 -- more than 12 years -- in 14
   2          years ---
   3                    A.         Uh-huh (yes).
   4                    Q.         --- going in the Admissions Office ---
   5                    A.         Uh-huh (yes).
   6                    Q.         --- you don't recall being a part of
   7          conversation as to what would constitute critical
   8          mass?
   9                    A.         No.
 10                     Q.         In all your work on the race-neutral
 11           alternatives committee, you don't recall having a
 12           discussion about what would constitute critical
 13           mass?
 14                     A.         Do you mean how other people define
 15           critical mass or what ---
 16                     Q.         To how the University defines critical
 17           mass.
 18                                      MR. SCUDDER:   Objection.
 19                     A.         I don't.   I don't recall that
 20           conversation.
 21                     Q.         (Mr. Strawbridge)    How many meetings did
 22           you have with the Race-Neutral Alternatives
 23           Working Group?
 24                     A.         Off the top of my head, I don't
 25           remember.             I don't know.

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   1                    Q.         Half a dozen?
   2                    A.         Six to eight, I guess I'd say.
   3                    Q.         Okay.   And how many meetings of this
   4          committee so far?
   5                                     MR. SCUDDER:   The new committee.
   6                    Q.         (Mr. Strawbridge)    The new committee.
   7                    A.         Probably about the same number.
   8                    Q.         And no recollections of discussion as to
   9          how the University defines critical mass?
 10                                      MR. SCUDDER:   Objection.
 11                     A.         I don't have any recollection of that
 12           discussion.
 13                     Q.         (Mr. Strawbridge)    You personally said
 14           it was some number.             Do you have an idea as to
 15           what that number would be?
 16                     A.         No.
 17                     Q.         Do you think it's a specific number or
 18           do you think it's a range?
 19                     A.         I don't think it's a specific number.
 20                     Q.         Do you think it's a range?
 21                     A.         I think you have to pay attention to
 22           numbers somewhat in order to achieve critical
 23           mass.          I don't -- I don't know if I would -- I --
 24           I don't know.
 25                     Q.         But the concept as you've described it

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   1                    A.         So one on the reliability of the
   2          readings was published in the NACAC Journal.                     I
   3          presented at NACAC once on looking for bias in
   4          letters of recommendation.
   5                    Q.         Okay.   Anything else?
   6                    A.         We contracted with an outside research
   7          firm to study the college choice process many
   8          years ago.
   9                    Q.         What was the name of that outside
 10           research firm?
 11                     A.         Olson Zaltman Associates.
 12                     Q.         And what aspect of the admissions
 13           process were they studying?
 14                     A.         They have a patented methodology, so we
 15           were just looking at factors that are important in
 16           -- in how students choose colleges to apply and
 17           attend to.             It ended up being -- it was a sample
 18           of men, North Carolina prospective students, male
 19           prospective students.
 20                     Q.         In your time as -- in the research
 21           department of the UNC Admissions Office, have you
 22           ever conducted any studies to see the effect of
 23           controlling for all other factors that race was
 24           having on the likelihood of admissions?
 25                     A.         No.

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   1                    Q.         Has anyone ever asked you to look into
   2          that question?
   3                    A.         No.
   4                    Q.         Have you ever heard any discussion about
   5          the possibility of doing that kind of analysis?
   6                    A.         No.
   7                    Q.         Directing your attention back to the
   8          exhibit in front of you.              If you can turn to page
   9          7 of this report.
 10           (Witness complied)
 11                     Q.         There's a block quote there that I think
 12           is attributed to the faculty advisory committee's
 13           statement on undergraduate admissions.
 14                     A.         Uh-huh (yes).   Yes.
 15                     Q.         Are you familiar with that document that
 16           it's excerpting the quote from here?
 17                     A.         Not -- not off the top of my head, I'm
 18           not familiar with it.             I've probably seen it
 19           before.
 20                     Q.         The quote that it attributes to that
 21           document here says "In evaluating candidates for
 22           admission, we do not seek to maximize the average
 23           SAT score or the average eventual GPA of the
 24           entering class."
 25                     A.         Uh-huh (yes).

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